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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY                                  MAY 1 8 2009
                           CENTRAL DIVISION AT LEXINGTON
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 IN RE CLASSICSTAR MARE LEASE
                       )     MDLNo.1877
 LITIGATION
                                         )
                                                     )
                                                     )     Master File:

 AND
                                                )
    Civil Action No.: 5:07-cv-353-JMH

                                                     )

                                                     )
 WEST HILLS FARMS, LLC, ET AL.                       )
                                                     )
                               PLAINTIFFS            )
 v.                                                  )     CASE NO.: 06-243-JNIH

                                                     )
 CLASSICSTAR, LLC, ET AL.                            )
                                                     )
                               DEFENDANTS.           )



                              AGREED ORDER OF DISMISSAL


         This cause coming to be heard by agreement of Plaintiffs Jaswinder and Monica Grover

 ("Grovers"), and Defendant Handler, Thayer and Duggan, LLC ("Defendant"), pursuant to a

  Settlement Agreement between them, the Court being fully advised in the premises;

         IT IS HEREBY ORDERED THAT:

         All claims of the Plaintiffs against Defendant Handler, Thayer and Duggan, LLC are

 hereby dismissed, as settled, with prejudice, with each side to bear its own fees and costs and

 with all other claims in this action to remain pending and unaffected by this Order
Case: 5:06-cv-00243-JMH-REW Doc #: 382 Filed: 05/18/09 Page: 2 of 2 - Page ID#: 4943




                                          BY THE COURT:




  SUBMITTED BY:



  lsi Barry D. Hunter
  Barry D. Hunter
  Paul E. Sullivan
  Medrith Lee Norman
  Frost Brown Todd LLC
  250 West Main Street, Suite 2700
  Lexington, Kentucky 40507
  (859) 231-0000
  COUNSEL FOR PLAINTIFFS
  WEST HILLS FARMS, LLC,
  ARBOR FARMS, LLC, NELSON
  BREEDERS, LLC, MACDONALD
  STABLES, LLC, JASWINDER GROVER
  AND MONICA GROVER
